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                  EXHIBIT A TO SAWYER DECLARATION
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First Western Trust Bank
TRANSACTION SUMMARY
The Aaron H. Fleck Revocable Trust
  612671024
From 01-01-2018 To 08-09-2019

Trade                                                                  Unit          Total
Date           Quantity     Security                                   Cost          Cost
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DIVIDENDS
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  12/21/2018                ANHEUSER BUSCH INBEV SPONSORED ADR                       $                 76.33                                                      $   32.71 foreign withholding tax

EXPENSES
--------
   7/20/2018                MANAGEMENT FEE                                           $             173.73      Q2 2018 Investment Management Fee (LCC)
   7/20/2018                MANAGEMENT FEE                                           $           1,494.55      Quarterly Portfolio Fee 6/30/2018 (50% discount)
  10/12/2018                MANAGEMENT FEE                                           $             496.23      Q3 2018 Investment Management Fee (LCC)
  10/12/2018                MANAGEMENT FEE                                           $           3,547.29      Quarterly Portfolio Fee 9/30/2018 (50% discount)
  11/15/2018                MISCELLANEOUS FEE                                        $               0.43                                                                      foreign exchange fee (on ACN dividend - no wothholding)
  12/21/2018                MISCELLANEOUS FEE                                        $              10.90                                                                      foreign exchange fee (on BUD dividend)
                                                                                     $           5,723.13                                                         $ 5,755.84


   1/18/2019                MANAGEMENT FEE                                           $           6,931.78      Quarterly Portfolio Fee 12/31/2018
   1/18/2019                MANAGEMENT FEE                                           $              462.24     Q4 2018 Investment Management Fee (LCC)
   4/19/2019                MANAGEMENT FEE                                           $           6,873.79      Quarterly Portfolio Fee 3/31/2019
    5/9/2019                MANAGEMENT FEE                                           $           1,494.56      Quarterly Portfolio Fee 6/30/2018 (50% discount)
    5/9/2019                MANAGEMENT FEE                                           $           3,547.30      Quarterly Portfolio Fee 9/30/2018 (50% discount)
    5/9/2019                MANAGEMENT FEE                                           $           2,575.22      Quarterly Portfolio Fee 6/30/2019
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TOTAL                                                                                $          27,608.02
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                  EXHIBIT B TO SAWYER DECLARATION
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DIVIDENDS
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     12/21/2018    ANHEUSER BUSCH INBEV SPONSORED ADR   $             76.33                                                        $    32.71 foreign withholding tax

EXPENSES
--------
       7/20/2018   MANAGEMENT FEE                       $           173.73      Q2 2018 Investment Management Fee (LCC)
       7/20/2018   MANAGEMENT FEE                       $         1,486.69      Quarterly Portfolio Fee 6/30/2018 (50% discount)
     10/12/2018    MANAGEMENT FEE                       $           496.23      Q3 2018 Investment Management Fee (LCC)
     10/12/2018    MANAGEMENT FEE                       $         3,516.81      Quarterly Portfolio Fee 9/30/2018 (50% discount)
     11/15/2018    MISCELLANEOUS FEE                    $             0.43                                                                      foreign exchange fee (on ACN dividend - no wothholding)
     12/21/2018    MISCELLANEOUS FEE                    $            10.90                                                                      foreign exchange fee (on BUD dividend)
                                                        $         5,684.79                                                         $ 5,717.50

     1/18/2019     MANAGEMENT FEE                       $           6,848.87    Quarterly Portfolio Fee 12/31/2018
     1/18/2019     MANAGEMENT FEE                       $              462.24   Q4 2018 Investment Management Fee (LCC)
     4/19/2019     MANAGEMENT FEE                       $           6,776.84    Quarterly Portfolio Fee 3/31/2019
      5/9/2019     MANAGEMENT FEE                       $           1,486.69    Quarterly Portfolio Fee 6/30/2018 (50% discount)
      5/9/2019     MANAGEMENT FEE                       $           3,516.81    Quarterly Portfolio Fee 9/30/2018 (50% discount)
      5/9/2019     MANAGEMENT FEE                       $           2,533.44    Quarterly Portfolio Fee 6/30/2019
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TOTAL                                                   $          27,309.68
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                  EXHIBIT C TO SAWYER DECLARATION
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